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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                       )
                                                  )
                              Plaintiff,          )
                                                  )
                      v.                          ) Case No. 1:12-cr-00102-TWP-DML
                                                  )
  JOSHUA N. BOWSER (01),                          )
  JAMIE A. BOLINGER (10),                         )
  VANCE CANNER (12),                              )
  STEPHEN D. DUFF (15),                           )
  CHARLES N. ERNSTES, II (20),                    )
  CHRISTIAN J. MILLER (44),                       )
                                                  )
                              Defendants.         )

                     ORDER ON MOTION TO SUPPRESS (Dkt. 1627)

        This matter is before the Court on Defendant Joshua N. Bowser’s (“Mr. Bowser”) Motion

 to Suppress (Dkt. 1627), joined by co-Defendants Jamie A. Bolinger, Vance Canner, Stephen D.

 Duff, and Christian J. Miller. Specifically, Mr. Bowser seeks to suppress all evidence obtained

 by the Government directly or indirectly as a result of the Government’s interception of

 telephone conversations of or relating to Mr. Bowser.    The Court has considered the briefs of

 both parties and pursuant to Federal Rule of Criminal Procedure 12(d), the Court now states its

 findings and conclusions of law. For the reasons set forth herein, the Motion to Suppress (Dkt.

 1627) is DENIED.

                                       I. BACKGROUND

        In six separate orders, the Honorable Judge Jane Magnus-Stinson authorized the

 Government to use wire and/or electronic surveillance in its investigation into the Outlaws

 Motorcycle Club (the “OMC”). The first order, signed on November 29, 2011, granted the

 Government authority to intercept wire and electronic communications over cellular telephones
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 used by Kent Whitinger and Mr. Bowser. The second order, signed on January 5, 2012, granted

 the Government authority to intercept wire communications over cellular telephones used by

 James Stonebraker and Mr. Bowser. The third order, signed on February 21, 2012, granted the

 Government authority to intercept wire communications over cellular telephones used by Mr.

 Bowser, Hector Nava-Arredondo, Steve Reynolds, and Jamie Bolinger. The fourth order, signed

 on March 9, 2012, granted the Government authority to intercept wire communications over a

 cellular telephone used by an unidentified male. The fifth order, signed on March 21, 2012,

 granted the Government authority to continue intercepting wire communications by Mr. Bowser

 and wire and electronic communications by Hector Nava-Arredondo. The sixth order, signed on

 March 29, 2012, granted the Government authority to intercept wire and electronic

 communications over a cellular telephone used by an unidentified male. In total, the government

 intercepted 24,009 telephone calls pursuant to orders it had obtained. Mr. Bowser only

 challenges the orders issued on November 29, 2011, January 5, 2012, February 21, 2012, and

 March 21, 2012, because he does not believe the wiretaps issued on March 9, 2012, or March 29,

 2012, produced evidence related to his cellular telephone.

                                         II. DISCUSSION

        Mr. Bowser contends that the communications and statements obtained from the wiretaps

 were intercepted in violation of the Fourth Amendment and Title III of the Omnibus Crime

 Control and Safe Streets Act of 1968 (“Title III”). In support of this contention Mr. Bowser

 argues that the orders authorizing the wiretaps were facially insufficient because each parrots the

 language of 18 U.S.C. § 2518(3)(c) and the Affidavits supporting the applications for wiretaps

 failed to establish the need for electronic and/or wire surveillance because they do not satisfy

 Title III’s requirement regarding the insufficiency of other investigative procedures.



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 A.     The District Judge’s Order was Facially Sufficient Pursuant to 18 U.S.C. §2518(4).

        While 18 U.S.C. § 2518(1)(c) requires the Government’s application for a wiretap order

 to include a “full and complete statement as to whether or not other investigative procedures

 have been tried and failed or why they reasonably appear to be unlikely to succeed if tried or to

 be too dangerous,” the same does not hold true for the district judge authorizing the order. The

 Seventh Circuit requires the district judge to review the Government’s application for a wiretap

 in a “practical and commonsense fashion” to determine whether the Government has met its low

 burden of establishing necessity for the wiretaps based on one of the three factors set out in

 §2518(1)(c). United States v. Ceballos, 302 F.3d 679, 683 (7th Cir. 2002) (quoting United States

 v. Zambrana, 841 F.2d 1320, 1329 (7th Cir. 1988)). Once the district judge has determined that

 the Government has established necessity for the wiretap, she is only required under 18 U.S.C.

 §2518(4) to specify in her order:

        (a) the identity of the person, if known, whose communications are to be
            intercepted;

        (b) the nature and location of the communications facilities as to which, or the
            place where, authority to intercept is granted;

        (c) a particular description of the type of communication sought to be
            intercepted, and a statement of the particular offense to which it relates;

        (d) the identity of the agency authorized to intercept the communications, and of
            the person authorizing the application; and

        (e) the period of time during which such interception is authorized, including a
            statement as to whether or not the interception shall automatically terminate
            when the described communication has been first obtained.

        Having reviewed the orders authorizing the use of the electronic and wire surveillance in

 this case, the Court finds that the orders were facially consistent with §2518(4) and therefore




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 were facially sufficient.1 Specifically, each order complied with requirements of the statute and

 in each order Judge Stinson found that normal investigative procedures had been tried and had

 failed, reasonably appeared unlikely to succeed if tried or were too dangerous to employ. The

 level of detail in each order sufficiently states that the statutory standard has been met, which is

 all that is required. See United States v. Soto-Nava, 2002 WL 432084 (S.D. Ind. 2002) (“what is

 required by the statute is a determination that the statutory standard has been met, not the sort of

 detailed factual findings required under Rule 52 of the Federal Rules of Civil Procedure”). As

 such, the Court cannot find that the orders in question which authorized interception of telephone

 conversations relating to Mr. Bowser were insufficient.

 B.      The Government Established the Necessity for Wire Surveillance in its Wiretap
         Applications.

         Next, Mr. Bowser argues the Government should have used less intrusive investigative

 methods such as undercover agents and search warrants instead of wiretaps while simultaneously

 recognizing the Government’s efforts to employ less intrusive investigative measures such as

 utilizing paid informants and drive-by surveillance. Here, Mr. Bowser’s argument cannot be

 reconciled with the requirements of Title III or subsequent case law because it is not required

 that a wiretap be used as a last resort. United States v. Anderson, 542 F.2d 428, 431 (7th Cir.

 1976). The statute does not even require that other investigative procedures actually be tried

 before an order may be issued for the interception of wire communications. Zambrana, 841 F.2d

 at 1329. The Government only needs to supply a “full and complete statement as to 1) whether

 or not other investigative procedures have been tried and failed; 2) why those procedures

 reasonably appear to be unlikely to succeed, if tried; or 3) why other investigative procedures

 would be too dangerous.” 18 U.S.C. § 2518(1)(c). The Government need only establish one of

 1
  The orders are docketed under seal at 1:11-mc-0129, 1:12-mc-02, 1:12-mc-0018, 1:12-mc-0024, 1:12-mc-0035.
 and 1:12-mc-0036.

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 the three criteria and its burden of demonstrating necessity for wiretaps is “not great.” Ceballos,

 302 F.3d at 683. In each of the Affidavits the Government has met its burden.

        1.      November 29, 2011, Affidavit

        In its Affidavit supporting the November 29, 2011, wiretap application, the Government

 demonstrated that attempting to infiltrate the OMC using an undercover agent would first, be

 unlikely to succeed and second, be too dangerous. November 29, 2011, Affidavit, ¶¶ 122-25.

 Mr. Bowser argues that the Government should have used an undercover agent to infiltrate the

 OMC instead of applying to use the wiretap as an investigative tool. The Government provided

 that in order to infiltrate the OMC with an undercover agent, the agent would have to “hang out”

 with the members for 18 months and receive a unanimous vote of approval for membership from

 the Indianapolis chapter. Considering the stringent conditions for membership, there is no

 guarantee that an undercover agent would gain membership into the OMC, and when applying a

 commonsense review of the application it is reasonable to believe that if tried the attempt would

 be unsuccessful.    See Anderson, 542 F. 2d at, 431 (stating “merely because a normal

 investigative technique is theoretically possible, it does not follow that it is likely”).

 Additionally, even if the undercover agent obtained membership, agents had been told they

 would have to use cocaine in order to acquire Mr. Bowser’s trust. The need for the undercover

 agent to use cocaine clearly puts his health and safety at risk causing the use of an undercover

 agent as an investigative procedure to be too dangerous.

        2.      January 5, 2012, Affidavit

        In its Affidavit supporting the January 5, 2012, wiretap application, the Government

 successfully articulated the need for a second wiretap. Mr. Bowser argues that the Government

 only “cut and pasted” allegations from the first Affidavit into its second Affidavit and failed to



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 explore the option of offering a plea agreement to a fired confidential informant. In its Affidavit,

 the Government explained that after firing one of its informants, Norvel Terry, for engaging in

 unlawful activity without FBI approval, they did not approach him with offers of immunity or

 question him any further because they did not want to risk Mr. Terry leaking information to

 members of the OMC. January 5 2012, Affidavit, ¶¶ 58(a)-(c). The Government was clearly

 able to show that the investigative procedure, the use of a confidential informant, had been tried

 and failed and that using other investigative techniques to procure additional information from

 Mr. Terry would likely fail and possibly cripple their investigation because Mr. Terry could

 potentially leak information to those suspected in this crime. This factual basis for the second

 wiretap application was specific to those circumstances; therefore, the Affidavit was sufficient to

 validate the necessity of a second wiretap.

        3.      February 21, 2012, Affidavit

        Regarding the February 21, 2012, wiretap application, Mr. Bowser repeats his arguments

 that the Government should have tried to procure information by inserting an undercover agent

 into the OMC organization, or offering Mr. Terry a plea agreement or immunity in exchange for

 his cooperation; however, the Government had already established that those methods were too

 dangerous or reasonably likely to fail if tried. Mr. Bowser goes on to argue that the Government

 should have simply stopped its investigation and presented its case to a grand jury.           The

 Government’s February 21, 2012, Affidavit explained that presenting its case to the grand jury

 would likely result in the targets of the investigation invoking their Fifth Amendment right to

 remain silent or simply not cooperating. February 21, 2012, Affidavit, ¶ 126. The Government

 also explained that granting immunity would not necessarily produce truthful testimony.

 February 21, 2012, Affidavit, ¶ 126. This was sufficient to show that if tried, utilizing the grand



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 jury powers to meet the objectives of the investigation would likely fail. Therefore, the necessity

 for wiretap surveillance was established.

         4.      March 21, 2012, Affidavit

         Mr. Bowser repeats his “cut and paste” argument regarding the March 21, 2012,

 Affidavit, arguing that the affidavit was simply a copy of prior affidavits. The Court does not

 agree. A review of the 71 page March 21, 2012 Affidavit reveals specific and distinct

 information not included in the prior affidavits. The March 21, 2012, Affidavit detailed specific

 reasons why using undercover agents, confidential informants, and interviews had not or could

 not achieve the goals of the investigation. The Government explained that because the OMC is a

 close-knit community, members of the organization would either refuse to testify or not testify

 truthfully to protect themselves and other members of the organization. March 21, 2012,

 Affidavit, ¶ 71.     The Government also explained that seeking out additional confidential

 informants either with the promise of immunity or a plea bargain would not work because

 members of the OMC, like Brian Peacock who had been arrested by the Indiana State Police, had

 already displayed a propensity to give false statements. March 21, 2012, Affidavit, ¶ 69.2 The

 March 21, 2012, Affidavit successfully established the necessity for the wiretaps because the

 Government demonstrated that implementation of other investigative procedures had failed and

 would likely fail if tried again.

         Mr. Bowser’s critique of how the Government carried out its investigation fails to show

 that the Government did not meet the necessity requirement to obtain authorization to use a

 wiretap. After careful review of the Affidavits in question, the Court finds, as did its sister court,

 that the Affidavits were sufficient to establish necessity for the use of wiretaps and support the


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  When Mr. Peacock was arrested for possession of cocaine, he provided a false statement to the Indiana State
 Police.

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 Government’s claims that other investigative procedures were inadequate to meet the

 investigative objective. Accordingly, because the wiretaps were valid, the evidence obtained as a

 result of the wire and electronic surveillance will not be suppressed.

 C.     An Evidentiary Hearing is Not Necessary

        An evidentiary hearing is necessary only if the party requesting the hearing raises a

 significant, disputed factual issue. United States v. Sophie, 900 F.2d 1064, 1071 (7th Cir. 1990).

 Mr. Bowser has not raised any factual disputes; he has only offered that the Government should

 have used additional investigative procedures. As a matter of fact, Mr. Bowser does not even

 ask for the hearing for himself; he asks for the hearing on behalf of the Government so that the

 Government can support the assertions it made in its wiretap application. The Court finds that

 the Government has adequately supported its assertions through the Affidavits submitted with

 the wiretap applications. As such a hearing on the matter is unwarranted, Mr. Bowser’s request

 for a hearing is denied.

                                        III. CONCLUSION

        For the reasons set forth above, the Court finds that Defendant Joshua N. Bowser’s

 Motion to Suppress (Dkt. 1627), joined by co-Defendants Jamie A. Bolinger, Vance Canner,

 Stephen D. Duff, and Christian J. Miller, is DENIED.


        SO ORDERED.

        08/08/2013
 Date: _____________________                            ________________________
                                                        Hon. Tanya Walton Pratt, Judge
                                                        United States District Court
                                                        Southern District of Indiana




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 DISTRIBUTION:                           Michael Eugene Allen
                                         ATTORNEY AT LAW
 Brad Blackington                        mallenatty@aol.com
 UNITED STATES ATTORNEY’S OFFICE
 bradley.blackington@usdoj.gov           Richard Mark Inman
                                         ATTORNEY AT LAW
 Doris Pryor                             markinman13@aol.com
 UNITED STATES ATTORNEY’S OFFICE
 doris.pryor@usdoj.gov

 Gwendolyn M. Beitz
 INDIANA FEDERAL          COMMUNITY
 DEFENDERS
 gwendolyn_beitz@fd.org

 Monica Foster
 INDIANA FEDERAL          COMMUNITY
 DEFENDERS
 monica_foster@fd.org

 Brent Westerfeld
 bwesterfeld@wkelaw.com

 James C. McKinley
 ATTORNEY AT LAW
 jmckinley@justice.com

 Anthony B. Ratliff
 DONINGER TUOHY & BAILEY LLP
 aratliff@dtblegal.com

 Thomas A. Brodnik
 DONINGER TUOHY & BAILEY LLP
 tbrodnik@dtblegal.com

 Gustin J. Raikos
 gusto66@hotmail.com

 Larry A. Mackey
 BARNES & THORNBURG LLP
 larry.mackey@btlaw.com

 Mark D. Stuaan
 BARNES & THORNBURG LLP
 mstuaan@btlaw.com
